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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

CHARLES M. FARMER                                §

VS.                                              §      CIVIL ACTION NO.        1:21-cv-308

DIRECTOR, TDCJ-CID                               §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Petitioner Charles M. Farmer, a prisoner confined at the Wynne Unit of the Texas

Department of Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this

Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241.

       The Court referred this matter to a magistrate judge for consideration pursuant to applicable

laws and orders of this Court. The magistrate judge recommends denying Petitioner’s Motion for

Leave to Proceed In Forma Pauperis [Dkt. 13].

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and pleadings. Proper notice

was given to the petitioner at his last known address. See FED. R. CIV. P. 5(b)(2)(C). No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the report and recommendation of the magistrate judge [Dkt. 15] is ADOPTED. Petitioner’s
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Motion for Leave to Proceed In Forma Pauperis [Dkt. 13] is DENIED. Petitioner shall pay the

$5.00 filing fee within thirty days of this order.

                                         SIGNED this 26th day of October, 2021.




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                                                                   Michael J. Truncale
                                                                   United States District Judge




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